Case 1:20-cv-02405-EGS Document 90-6 Filed 11/05/20 Page 1 of 8

 

 

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Case 1:20-cv-O2705-ECSROCESEING OPERATIONS

HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order , <=

POSTAL SERVICE ©
Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search, This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District

 

 

 

 

 

 

 

 

 

Political and/or Election Mail. District: 7C Name
Bute S: Chuzt
Title: L@y) Phone #: Gi RAF “S606
Comments:

Check box | Section/Operation:

when checked Specifics: include copies of PMOD label and /or

container placard. Names of individuals contacted

Incoming dock q ~, . - . ‘
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BMEU & BMEU Plant Staging v

sift
Opening units

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AO / Station dispatch area , Hist: tele Iz ELS

Defines the work area to be Searched.

 

 

 

 

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Outbound dock j . ‘
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Outgoing Dispatch Area . . x ‘
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Trailers in yard (Yard Check)

MTE Plant Staging Area ,

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MITE trailers : .

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Site MTESC

 

PARS Staging and Operations

Rewrap Operations t GLY, F

CFS (if applicable)

 

 

 

a TITS §

BRM/Postage Due

 

 

 

 

 

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i 11/05/20 Pane 4 of 8
PROCESSING OPERATIONS

HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order unrcosrres

 

 

 

Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained b y the District
Political and Election Mail Operations Coordinator information for investigating possible missing or delayed

 

 

 

 

 

Coa grees Election Mail. District: /ND-ATL fr T{e. Name:

fe Casa

Title: Da Phone #: Ni Oo BAAS COL
Comments:

Check box Section/Operation:

Specifics: include copies of PMOD label and /or
container placard. Names of individuals contacted

when checked Defines the work area to be searched.

 

 

 

 

 

 

 

 

 

 

 

 

 

Rewrap Operations ~ : Z, J arcl hy. / 7
CFS (if applicable) Dee i l Ancl? c 0 - Y - ly} —
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BRM/Postage Due

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Outgoing Dispatch Area - : .-
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Case 1:20-cv-02405-EGS Document 90-6 Filed 11/05/20 Page 5 of 8

 

 

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‘ 5/20 Page 6 of 8
Case I 2U-CV-UZTUS-E GSE ROCEREING Shona ae PERATIONS

HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order inscosrars

 

 

 

Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordinator information for investigating possible missing or delayed

 

 

OT gee Election Mail. District: /2/7) ATLA LC Name:
aS. ZS
Title: SS Phone #:_ Fo - AAFP Glo’

 

 

 

Comments:
Check box | 5@¢tion/Operation:

Specifics: include copies of PMOD label and for
container placard. Names of individuals contacted

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when checked Defines the work area to be searched.

 

 

 

 

 

 

 

 

 

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PARS Staging and Operations
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Case 1

 

 

 

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PROCESSING OPERATIONS

HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order tnzosrares

 

 

 

Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordinator information for investigating possible missing or delayed

 

 

 

 

 

Ga and/or Election Mail. District: Mid ATtAr/T/ ce Name:
& aS Comakd
Title: SDod Phone #:_7/0 -223 3606
Comments:

Check box | Section/Operation:

Specifics: include copies of PMOD label and
when checked Defines the work area to be searched. pecifi RS OSONESET i. ° for
container placard. Names of individuals contacted

 

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